















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1986-05






GERALD HERRERA, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


CALDWELL COUNTY





	Keasler, J., delivered the opinion of the Court in which Keller, P.J., and
Meyers, Womack, Hervey, and Cochran, JJ., joined.  Cochran, J., filed a concurring
opinion.  Johnson, J., filed a dissenting opinion in which Price, J., joined.  Holcomb,
J., filed a dissenting opinion in which Price, J., joined. 

O P I N I O N 



	The court of appeals upheld the trial judge's determination that Gerald Herrera was not
"in custody" for purposes of Miranda v. Arizona (1) when he was interviewed by Investigator
Powell about a fight while he was in held in the county jail on an unrelated offense. (2)  We agree
and affirm.I.  Factual and Procedural Background

	In July 2001, Gerald Herrera and some members of his family were involved in an
interracial fight with a group of African-Americans outside of the Mia Mar Bar in Lockhart,
Texas.  During the fight, several of the African-Americans were stabbed or cut.  

	Sergeant Tedford arrived at the scene shortly after the fight ended.  Another officer
immediately asked Sergeant Tedford to stop a red car that was leaving the scene.  Sergeant
Tedford stopped the car and identified the three occupants as Gerald Herrera and his parents,
Maria and Natividad.  Gerald was seated alone in the backseat of the car.  While the Herreras
were questioned by Tedford and another officer, Officer Garza conducted a search of the car
and discovered a lock-blade knife in the backseat on the floorboard.  Officer Garza arrested
Gerald on an outstanding warrant and transported him to the Caldwell County Jail.

	The next morning, Investigator Powell went to the jail to talk to Gerald about the fight. 
Investigator Powell did not give Gerald Miranda (3) warnings or advise of him of his statutory
rights under Article 38.22, Section 2(a) of the Texas Code of Criminal Procedure (4) before he
spoke to him.  Investigator Powell also failed to record the conversation. (5)  

	During the interview, Gerald told Investigator Powell "that he had a knife in his pocket,
that, when he was stopped by the officers, that he took the knife out of his pocket and dropped
it on the floorboard."  Gerald also told Investigator Powell that he saw his brother fighting with
some males and that he witnessed an African-American male hit his father.  Explaining his
involvement in the fight, Gerald told Investigator Powell that 

	when he got to the street and somebody knocked his glasses off, that it knocked
him down and that somebody, someone was kicking and hitting on him . . . . [H]e
reached in his pocket to get his knife, but that every time he tried to reach in his
pocket somebody would hit him or kick him, so he just curled up into a ball
trying to protect himself.         


	Gerald was later charged with three counts of aggravated assault with a deadly weapon.
Gerald elected to have a jury trial and entered pleas of not guilty.  Before trial, Gerald had filed
a motion to suppress the statements that he made to Investigator Powell.  Although Gerald did
not request a pretrial suppression hearing, during Investigator Powell's testimony at trial,
Gerald, citing his motion to suppress, objected when Investigator Powell began to testify about
his conversation with Gerald in the jail.  The judge then excused the jury and allowed the
parties to question Investigator Powell about the circumstances surrounding the interview.  

	When defense counsel asked Investigator Powell if Sergeant Tedford told him that the
Herreras were suspects, Investigator Powell stated that Sergeant Tedford only told him that
they had been involved in the fight.  Defense counsel continued to inquire into Investigator
Powell's conversation with Sergeant Tedford:

	Q. [Defense Counsel:] Detective Powell, when you talked to Sergeant Tedford,
he told you that a bunch of Blacks had been stabbed, didn't he?

	A. [Investigator Powell:] He told me that some people had been stabbed.

	Q.  He didn't tell you Blacks were stabbed?

	A.  No.  He gave me some names which I knew to be black persons.

. . .

	Q.  And Tedford also told you that they had been stabbed by Hispanics, did he
not?

	A.  Not in those words, no.

	Q.  What did he say?

	A.  He said that the Herreras were involved.

	Q.  Okay, so you knew Blacks had been stabbed?

	A.  Yes, sir.

	Q.  And the Herreras were involved?

	A.  Yes, sir.

	Q.  And basically you suspected the Herreras of stabbing the Blacks, correct?

	A. You're trying to put words in my mouth, sir.  That's not what I expected.

	Q. Okay.

	A. I did not know that maybe the Blacks had attacked the Herreras and they were
acting in self-defense.

	Q. Okay.  But you knew - - fine.  But it is fair to say you suspected the Herreras
of stabbing the Blacks whether it was self-defense or otherwise?  Would that be
fair?

	A. No, sir, that would not be fair.  That would not be fair.  I - - they - - I was told
that the Herreras were involved.  The extent of their involvement, I have no idea. 

	Q. But they were suspects by being involved, weren't they?

	A. No, sir.  They were involved.  They were part of the fight.

	Q. They were part of the fight.  And that doesn't make them a suspect?

	A. If you want to use that terminology, everybody in Caldwell County that night
was a suspect.	

In response to additional questioning by defense counsel, Investigator Powell testified that
Gerald was in the custody of the county jail when he was interviewed and that he did not warn
Gerald of his rights.

	When questioned by the prosecutor, Investigator Powell stated that Gerald was not in
jail because of the fight and that Gerald did not refuse to talk to him.  Investigator Powell also
explained why he interviewed Gerald:

	At the time I talked to him the next day, I still didn't have a clear picture of what
happened. It could have been that he was acting in self-defense.  It could have
been that he had been attacked - - him and his family had been attacked.  I did not
have a clear picture of what happened . . . .

. . .

	I knew there had been a fight.  I knew that several people had been cut.  I knew
that some of the Herrera family had been injured, but that's all I knew. 


	Without entering findings, the trial judge overruled Gerald's objection and allowed
Investigator Powell to testify about what Gerald had told him during the interview. 

	The jury found Gerald guilty of one count of aggravated assault with a deadly weapon
and acquitted him of the two remaining counts.  Gerald was then sentenced to eight years'
imprisonment.  

	Gerald appealed, contending, among other things, that the trial judge erred in admitting
the unrecorded oral statements that he had made to Investigator Powell. (6)  Gerald claimed that
the statements were admitted in violation of the Fifth Amendment and Article 38.22, Texas
Code of Criminal Procedure. (7)  The Third Court of Appeals held that the trial judge did not err
by admitting the statements into evidence. (8)  Addressing the issue of "custody" for purposes of
Miranda, the court observed that "[c]ourts generally have declined to equate incarceration with
custody[.]" (9)  The court then determined that the defendant bears the burden of proving that a
statement was the result of custodial interrogation (10) and, after examining the facts of this case,
the court held: "Apart from the fact of incarceration, there is no evidence of compulsion or
that the statement was otherwise one of custodial interrogation." (11)  Turning to Article 38.22,
Texas Code of Criminal Procedure, the court held that the statement was admissible because
Article 38.22 "does not preclude admission of a statement that does not stem from 'custodial
interrogation.'" (12)

	Gerald petitioned for review and we granted his first ground for review, which asks us
to decide whether the court of appeals's decision upholding the trial court's determination that
Gerald was not subject to "custodial interrogation" when interviewed by Investigator Powell
in jail conflicts with the United States Supreme Court's holding in Mathis v. United States (13)
and our decision in Jones v. State. (14) 

II.  Law and Analysis 

	A.	

	The Fifth Amendment to the United States Constitution commands that no person "shall
be compelled in any criminal case to be a witness against himself[.]" (15)  The warnings set out
by the United States Supreme Court in Miranda v. Arizona were established to safeguard an
uncounseled individual's constitutional privilege against self-incrimination during custodial
interrogation. (16)  The Supreme Court has defined  "custodial interrogation" as "questioning
initiated by law enforcement officers after a person has been taken into custody or otherwise
deprived of his freedom of action in any significant way." (17)  Unwarned statements obtained as
a result of custodial interrogation may not be used as evidence by the State in a criminal
proceeding during its case-in-chief. (18) 

	When considering "custody" for Miranda purposes, we apply a "reasonable person"
standard--"[a] person is in 'custody' only if, under the circumstances, a reasonable person
would believe that his freedom of movement was restrained to the degree associated with a
formal arrest." (19)  Our "custody" inquiry also includes an examination of all of the objective
circumstances surrounding the questioning. (20)  The subjective belief of law enforcement
officials about whether a person is a suspect does not factor into our "custody" determination
unless an official's subjective belief was somehow conveyed to the person who was
questioned. (21)

	Article 38.22 of the Texas Code of Criminal Procedure governs the admissibility of
statements made by a defendant during custodial interrogation in a criminal proceeding. (22) 
Section 3 provides that an oral statement is admissible against a defendant in a criminal
proceeding if, among other things: (1) the statement was electronically recorded; (2) the
defendant was given the warnings set out in Section 2(a) before the statement was made and
it is included on the recording; and (3) the defendant "knowingly, intelligently, and voluntarily"
waived the rights set out in the warnings. (23)  The warnings provided in Section 2(a) are virtually
identical to the Miranda warnings, (24) with one exception--the warning that an accused "has the
right to terminate the interview at any time" as set out in Section 2(a)(5) (25) is not required by
Miranda.  As with the Miranda warnings, the warnings in Section 2(a) of Article 38.22 are
required only when there is custodial interrogation. (26)  Our construction of "custody" for
purposes of Article 38.22 is consistent with the meaning of "custody" for purposes of
Miranda. (27) 

	At trial, the defendant bears the initial burden of proving that a statement was the
product of "custodial interrogation:"

	The mere filing of a motion to suppress does not thrust a burden on the State to
show compliance with Miranda . . . warnings unless and until the defendant
proves that the statements he wishes to exclude were the product of custodial
interrogation.  Thus, the State has no burden at all unless 'the record as a whole
clearly establishe[s]' that the defendant's statement was the product of
custodial interrogation by an agent for law enforcement.  It is the defendant's
initial burden to establish those facts on the record. (28)


	A trial judge's ultimate "custody" determination "presents a 'mixed question of law and
fact.'" (29)  Therefore, we afford almost total deference to a trial judge's "custody" determination
when the questions of historical fact turn on credibility and demeanor. (30)  Conversely, when the
questions of historical fact do not turn on credibility and demeanor, we will review a trial
judge's "custody" determination de novo. (31)  Additionally, when a trial judge denies a motion
to suppress and does not enter findings of fact, the evidence is viewed "in the light most
favorable to the trial court's ruling" and we "assume that the trial court made implicit findings
of fact that support its ruling as long as those findings are supported by the record." (32) 

	B.

	In this case, the pertinent question is whether Gerald was "in custody" within the
meaning of Miranda. Gerald argues that he was "in custody" when questioned by Investigator
Powell because he was an inmate in the county jail.  He maintains that Miranda warnings are
required when a person incarcerated on one offense is questioned by law enforcement officials
about a separate offense.  Because Gerald's argument is predicated, in part, on the Supreme
Court's decision in Mathis, we consider that case first. 

	Mathis sought to suppress incriminating statements that he made to an Internal Revenue
Service Agent who had interviewed him in prison while he was serving a sentence for another
offense. (33)  He maintained that the statements were inadmissible because the agent failed to
provide him Miranda warnings prior to the questioning. (34)  Rejecting the government's
argument that Miranda is "applicable only to questioning one who is 'in custody' in connection
with the very case under investigation," the Court stated that such a reading "goes against the
whole purpose of the Miranda decision . . . ." (35)  The Court then held that "nothing in the
Miranda opinion . . . calls for a curtailment of the warnings to be given persons under
interrogation by officers based on the reason why the person is in custody." (36)  

	Although Mathis may appear to be dispositive of the issue before us, our research
reveals that, during the thirty-nine years since Mathis was decided, a majority of federal courts
of appeals have concluded that Mathis did not institute a per se rule that an incarcerated
individual is automatically entitled to Miranda warnings prior to all interrogations. (37)  Several
of the cases involve questioning conducted by jail or prison officials in connection with
circumstances relating to jail or prison administration.  For example, in Cervantes v. Walker,
a sheriff's deputy, discovered "a small matchbox containing a green odorless substance" (38)
among Cervantes's belongings, which Cervantes left on a table outside the prison library after
he was ordered to move to a different cell following his involvement in a fight with another
inmate. (39)  Suspecting that the green odorless substance was marijuana, the deputy "showed the
contents to Cervantes and asked, 'What's this?'" (40)  In response, Cervantes told the deputy that
the substance was "grass." (41)  Cervantes was arrested and convicted of possession of narcotics
in a county jail. (42)  In his federal petition for a writ of habeas corpus, Cervantes challenged the
admission of his statement by the state trial judge, alleging that the admission was "violative
of his privilege against self-incrimination" because he had not received Miranda warnings. (43)

	At the outset, the Ninth Circuit Court of Appeals observed that "[t]he question in this
case is unique because Cervantes was residing in jail when the questioning occurred." (44) 
Rejecting Cervantes's reliance on Mathis, the court stated, "To interpret Mathis as Cervantes
urges would, in effect, create a per se rule that any investigatory questioning inside a prison
requires Miranda warnings." (45)  The court reasoned that "[s]uch a rule could totally disrupt
prison administration" and "would not only be inconsistent with Miranda but would torture it
to the illogical position of providing greater protection to a prisoner than to his nonimprisoned
counterpart." (46) 

	Observing that custodial interrogation exists when "a reasonable person would have
believed he could not leave freely," (47) the court stated that "[w]hen prison questioning is at
issue," the "'free to leave' standard ceases to be a useful tool in determining the necessity of
Miranda warnings" because "[i]t would lead to the conclusion that all prison questioning is
custodial because a reasonable prisoner would always believe he could not leave the prison
freely." (48)  The court then considered the "concept of 'restriction'" as used by the Supreme
Court in Oregon v. Mathiason, a case involving station-house questioning. (49)  There, the Court
found that Mathiason, who confessed to burglarizing a house, voluntarily came to the police
station to talk to a police officer, was informed that he was not under arrest, and was able to
leave the "station without hindrance" after he was interviewed by police. (50)   The Court held that
there was "no indication that the questioning took place in a context where [Mathiason's]
freedom to depart was restricted in any way." (51) After taking note of Mathiason, the Ninth
Circuit stated: 

	The concept of 'restriction' is significant in the prison setting, for it implies the
need for a showing that the officers have in some way acted upon the defendant
so as to have 'deprived (him) of his freedom of action in any significant way,'
. . . . In the prison situation, this necessarily implies a change in the surroundings
of the prisoner which results in an added imposition on his freedom of
movement. Thus, restriction is a relative concept, one not determined
exclusively by lack of freedom to leave.  Rather, we look to some act which
places further limitations on the prisoner. (52)

	 Utilizing a "reasonable person" standard and its four-factor "'free to leave'" test, the
court set out the following circumstances to consider when determining "whether a reasonable
person would believe there had been a restriction of his freedom over and above that in his
normal prisoner setting":   

	  "the language used to summon the individual,"

	  "the physical surroundings of the interrogation,"

	  "the extent to which he is confronted with evidence of his guilt, and"

	  "the additional pressure exerted to detain him[.]" (53)

The court then applied the foregoing factors to the facts of the case before it and found that:
(1) the deputy "sought to ascertain the nature of the substance" following a routine search; (2)
"[t]he questioning took place in the prison library and appears to have been a spontaneous
reaction to the discovery;" and (3) "neither the prison setting nor the presence of [the deputy]
. . . exerted a pressure to detain sufficient to have caused a reasonable person to believe his
freedom of movement had been further diminished." (54)  As a result, the court concluded that
Cervantes's statement was admissible because Miranda warnings were not required. (55)

	The Seventh Circuit has also refused to hold that Mathis requires Miranda warnings
in every instance in which an inmate is questioned by government agents.  Building on the
Ninth Circuit's holding in Cervantes and decisions from other circuit courts, in United States
v. Menzer, the Seventh Circuit concluded that an inmate is not ipso facto "in custody" for
purposes of Miranda when the inmate is questioned by outside law enforcement officials
about an offense unrelated to the inmate's incarceration and to prison administration. (56)  In that
case, agents from the Federal Bureau of Investigation, who were investigating the arson of
Menzer's home and business, which resulted in the death of his son and step-son, went to talk
to Menzer about the arson while he was imprisoned for sexual exploitation. (57)  When
confronted with Menzer's claim that the statements should have been suppressed because he
did not receive Miranda warnings before he was interrogated, (58) the court concluded that
Mathis "did not expressly address the question of whether imprisonment per se constitutes
being 'in custody' for purposes of Miranda." (59)  The court went on to note that the "Second,
Fourth, Eighth and Ninth Circuits have held that when challenging a statement given by a
defendant, merely because the defendant is in prison on an unrelated charge does not mean the
defendant is 'in custody' under Miranda." (60)  The court further observed that those courts have
"examined 'the totality of the circumstances'" when determining whether a defendant was "in
custody" (61) and that the following factors have been considered by courts when assessing
whether a prisoner was "in custody:" (1) "the defendant's 'freedom to leave the scene and the
purpose, place and length' of the questioning[;]" (62) (2) "'a change in the surroundings of the
prisoner which results in an added imposition on his freedom of movement[;]'" (63) and (3)
"whether 'circumstances . . . suggest any measure of compulsion above and beyond the
confinement[.]'" (64)   

	The court rejected Menzer's argument that he was "in custody" because he was not free
to leave the interrogation due to his incarceration, stating "While it is undisputed that the
defendant was incarcerated for an unrelated crime, we conclude that Menzer was not 'in
custody' for the purposes of Miranda because there was no 'added imposition on his freedom
of movement' nor 'any measure of compulsion above and beyond [imprisonment]'." (65)  In
reaching its conclusion, the court considered the following facts: Menzer was told that an
agent was coming to talk to him; he was not restrained; the room was well lit with "two
windows exposing the interview room to the prison administrative office;" the door to the
room was unlocked; and, Menzer was told "that he was free to leave at any time." (66)  Quoting
Cervantes, the court reasoned that "a holding that incarceration per se results in custody under
Miranda would result in 'the illogical position of providing greater protection to a prisoner
than to his nonimprisoned counterpart.'" (67)

	Next, we consider our decision in Jones, which Gerald also cites as supporting
precedent in his ground for review. In Jones, we addressed the State's argument "that a
defendant is not necessarily 'in custody' solely because he is questioned while incarcerated." (68) 
We observed that the State relied on federal appellate court cases holding "that there must be
a change in the inmate's surroundings or an added imposition on his freedom of movement
before he is 'in custody' for Miranda purposes." (69) 

	While incarcerated in the county jail based on suspicion for the murder of his great-aunt, Jones was questioned by a Texas Ranger about two extraneous murders. (70)  Jones
confessed to the extraneous murders after the Ranger told him that Jones's friend "Red" had
told him (the Ranger) that Jones was "primarily responsible for the murders." (71)  We held that
Jones was in custody for purposes of Miranda when he confessed to the extraneous murders. (72) 
Our "custody" determination was based on the fact that Jones had been subjected to "a classic
police 'interrogation' environment." (73)  The record showed that Jones had been moved to
another part of the jail early in the morning to meet with the Ranger, was placed in a small
interview room, was informed that the Ranger was investigating the extraneous murders, and
was confronted with Red's statement accusing him of the murders. (74)

	We are unpersuaded by Gerald's reliance on Jones.  Our resolution of the State's
argument did not require us to decide whether Mathis compels the use of Miranda warnings
before all inmate interrogations.  Now that we have been presented with the opportunity to
finally decide this issue, we decline to read Mathis as instituting a bright-line rule.  We agree
with the interpretation of Mathis adopted by a majority of the federal appellate courts:
Although Mathis holds that Miranda warnings may be required when an inmate is questioned
by law enforcement officials, Mathis does not hold that Miranda warnings must precede all
inmate interrogations.  Indeed, the Supreme Court implicitly acknowledged this fact in dicta
in its 1990 opinion in Illinois v. Perkins, stating "The bare fact of custody may not in every
instance require a warning even when the suspect is aware that he is speaking to an official, but
we do not have occasion to explore that issue here." (75)  We therefore hold that incarceration
does not always constitute "custody" for Miranda purposes when an inmate is questioned by
law enforcement officials "regarding an offense separate and distinct from the offense for
which he was incarcerated." (76) 

	The Miranda decision itself supports our conclusion.  In Miranda, the Court was
primarily concerned with the fact that custodial interrogation is inherently coercive; it
typically involves "incommunicado" questioning "in a police-dominated atmosphere" (77) and
"compelling pressures which work to undermine the individual's will to resist and to compel
him to speak where he would not otherwise do so freely." (78)  We find no basis for the
assumption that the coercive aspects of custodial interrogation are present in every instance
in which an inmate is questioned by a law enforcement officer. (79)  Even though an inmate is not
at liberty to leave a detention facility, the deprivation of freedom is not absolute.  Inmates, in
varied degrees, retain some level of freedom and autonomy while incarcerated.  Thus,
encounters between a government agent and an inmate will, in some cases, closely resemble
situations involving station-house questioning found non-custodial for Miranda purposes. (80) 
In such cases, Gerald's interpretation of Mathis would lead to the inequitable outcome
expressed by the Ninth Circuit--that an inmate is accorded greater rights under the Fifth
Amendment than a non-imprisoned individual.   The application of the exclusionary rule in such
circumstances does not further the interests protected by Miranda--to prohibit the use of
unreliable and involuntary confessions. (81) 

	Because we refuse to equate incarceration with "custody" for purposes of Miranda
when an inmate is questioned by a state agent about an offense unrelated to the inmate's
incarceration, we turn to our traditional "custody" analytical framework.  We evaluate
"custody" "on an ad hoc basis, after considering all of the (objective) circumstances" (82) and
apply the "reasonable person" standard. (83)  "Two discrete inquiries are essential to the
determination [of "custody"]: first, what were the circumstances surrounding the interrogation;
and second, given those circumstances, would a reasonable person have felt he or she was not
at liberty to terminate the interrogation and leave." (84) 

	Consistent with the facts that we found determinative in Jones, an evaluation of the
circumstances surrounding an interrogation in this context should include an examination of
the factors considered significant by the Ninth and Seventh circuit courts.  Dispensing with
quotations and citations, these factors include, but are not necessarily limited to: 

	  	the language used to summon the inmate;

	  	the physical surroundings of the interrogation; 

	  	the extent to which the inmate is confronted with evidence of his or her guilt; 


		the additional pressure exerted to detain the inmate or the change in the
surroundings of the inmate which results in an added imposition on the inmate's
freedom of movement; and


	  	the inmate's freedom to leave the scene and the purpose, place, and length of the
questioning. 


	In this case, the record shows that Gerald failed to meet his initial burden of
establishing that he was "in custody" for Miranda purposes. (85)   Beyond the purpose of the
questioning--to gather information about the fight--the record is devoid of any facts relating
to the factors relevant to determining "custody" for purposes of Miranda in this context.  The
purpose of the questioning, standing alone, in this instance, does not show "custody" within the
meaning of Miranda. Accordingly, we hold that the court of appeals did not err in affirming
the trial judge's "custody" determination.

III.  Conclusion

	We conclude that the court of appeals correctly held that Gerald was not "in custody"
within the meaning of Miranda when questioned by Investigator Powell about the fight while
in the county jail on an unrelated offense.  The judgment of the court of appeals is affirmed. 


DATE DELIVERED: November 21, 2007

PUBLISH

1.   384 U.S. 436 (1966).
2.   Herrera v. State, No. 03-04-00766-CR, 2005 Tex. App. LEXIS 10030, at *7-12
(Tex. App.--Austin Dec. 1, 2005) (not designated for publication).  
3.   384 U.S. at 478-79; see also Dickerson v. United States, 530 U.S. 428, 444
(2000).
4.   Tex. Code Crim. Proc. art. 38.22 § 2(a) (Vernon 2005) (last amended in 2001 to
include Section 8).
5.   See Tex. Code Crim. Proc. art. 38.22 § 3(a)(1).
6.   Herrera, 2005 Tex. App. LEXIS 10030, at *6-7.
7.   Id. 
8.   Id. at *10-12, 19. 
9.   Id. at *8-9 (citing United States v. Newton, 369 F.3d 659, 670 (2d Cir. 2004);
United States v. Menzer, 29 F.3d 1223, 1232-33 (7th Cir. 1994); Garcia v. Singletary, 13
F.3d 1487, 1491 (11th Cir. 1994); United States v. Conley, 779 F.2d 970, 973-74 (4th
Cir. 1985)).
10.   Id. at *11 n.4 (stating that this Court has not addressed who bears the burden of
proof and adopting the United States Court of Appeals for the Fifth Circuit's determination
that the defendant bears the burden of proving that a statement was the result of "custodial
interrogation") (citing United States v. Davis, 792 F.2d 1299, 1309 (5th Cir. 1986);
United States v. Charles, 738 F.2d 686, 692 (5th Cir. 1984); 41 George E. Dix &amp; Robert
O. Dawson, Texas Practice: Criminal Practice and Procedure § 13.384 (2d ed. 2001)). 
But see Wilkerson v. State, 173 S.W.3d 521, 532 (Tex. Crim. App. 2005) (quoting Paez v.
State, 681 S.W.2d 34, 36 (Tex. Crim. App. 1984) (stating that the defendant bears the
initial burden of proving "custody").
11.   Id. 
12.   Id. at *12.
13.   391 U.S. 1, 4-5 (1968). 
14.   119 S.W.3d 766, 776 (Tex. Crim. App. 2003).
15.   U.S. Const. amend. V; see also U.S. Const. amend. XIV.
16.   384 U.S. at 442-57, 467-79.
17.   Id. at 444.
18.   Id. But see Harris v. New York, 401 U.S. 222, 225-26 (1971) (holding that
Miranda does not foreclose the use of an unwarned statement to impeach a defendant's
credibility if the statement was not coerced and given voluntarily).  
19.   Dowthitt v. State, 931 S.W.2d 244, 254 (Tex. Crim. App. 1996) (citing
Stansbury v. California, 511 U.S. 318, 322, 325 (1994)).
20.   Stansbury, 511 U.S. at 322-23, 325; Dowthitt, 931 S.W.2d at 255.
21.   Stansbury, 511 U.S. at 323-25.
22.   Tex. Code Crim. Proc. art. 38.22. 
23.   Tex. Code Crim. Proc. art. 38.22 § 3(a)(1)-(2). 
24.   Tex. Code Crim. Proc. art. 38.22 §§ 2(a), 3(a)(2); Wilkerson, 173 S.W.3d at
527 n.14 (observing that Article 38.22 "requires a slightly more elaborate set of warnings
than Miranda[.]"); see also Dowthitt, 931 S.W.2d at 258 (holding "that the language in
Article 38.22 § 2(a), requiring warnings to be given by the person 'to whom the statement is
made,' does not apply to oral statements [governed by § 3] . . . .").
25.   Perillo v. State, 758 S.W.2d 567, 575 (Tex. Crim. App. 1988) (stating "that
Miranda warnings must precede a confession offered under Article 38.22, § 3(c)[.]").
26.   Tex. Code Crim. Proc. art. 38.22 §§ 3(a), 5.
27.   Wicker v. State, 740 S.W.2d 779, 785 (Tex. Crim. App. 1987) ("the term
'custodial interrogation' [in Article 38.22] was intended by the legislature to be construed
consistently with its meaning under the Fifth Amendment to the United States
Constitution.") (citing Bass v. State, 723 S.W.2d 687, 690-91 (Tex. Crim. App. 1986)).
But see Dowthitt, 931 S.W.2d at 254 n.4 (stating that the issue of "custody" will be
examined "from a federal constitutional perspective" and that the Court will presume that
the state statutory standard is the same because the appellant failed to argue that the state
and federal concepts of custody differ).
28.   Wilkerson, 173 S.W.3d at 532 (quoting Paez, 681 S.W.2d at 36 [original
emphasis]).
29.   Thompson v. Keohane, 516 U.S. 99, 112-13 (1995). 
30.   Ripkowski v. State, 61 S.W.3d 378, 381 (Tex. Crim. App. 2001) (citing Guzman
v. State, 955 S.W.2d 85, 89 (Tex. Crim. App. 1997)). 
31.   Id. at 381-82 (citing Guzman, 955 S.W.2d at 89).
32.   State v. Ross, 32 S.W.3d 853, 855 (Tex. Crim. App. 2000).
33.   391 U.S. at 2-3.
34.   Id. at 3.
35.   Id. at 4.
36.   Id. at 4-5.
37.   Cervantes v. Walker, 589 F.2d 424, 427 (9th Cir. 1978); United States v. Scalf,
725 F.2d 1272, 1275-76 (10th Cir. 1984); Conley, 779 F.2d at 972; United States v.
Cooper, 800 F.2d 412, 414 (4th Cir. 1986); Leviston v. Black, 843 F.2d 302, 304 (8th Cir.
1988); Garcia, 13 F.3d at 1491; United States v. Turner, 28 F.3d 981, 983 (9th Cir.
1994); Menzer, 29 F.3d at 1231-33; see also Flittie v. Solem, 751 F.2d 967, 974 (8th Cir.
1985); United States v. Willoughby, 860 F.2d 15, 23 (2d Cir. 1988); United States v.
Cofield, No. 91-5957, 1992 U.S. App. LEXIS 8284, *5-8 (6th Cir. Apr. 17, 1992); United
States v. Smith, 7 F.3d 1164, 1167 (5th Cir. 1993).  But see Battie v. Estelle, 655 F.2d
692, 697 (5th Cir. 1981).
38.   589 F.2d at 427.
39.   Id. at 426.
40.   Id. at 427.
41.   Id.
42.   Id. at 425, 427. 
43.   Id.
44.   Id. at 427.
45.   Id. 
46.   Id. 
47.   Id.
48.   Id. at 428.
49.   Id. (discussing and citing Oregon v. Mathiason, 429 U.S. 492, 495 (1977) (per
curiam)).										
50.   Mathiason, 429 U.S. at 493, 495.
51.   Id. at 495.
52.   Cervantes, 589 F.2d at 428 (internal citation omitted).
53.   Id.
54.   Id. at 429.
55.   Id.
56.   Menzer, 29 F.3d at 1231-33.
57.   Id. at 1225-26.
58.   Id. at 1230.
59.   Id. at 1231.
60.   Id. 
61.   Id. at 1232.
62.   Id. (quoting Leviston, 843 F.2d at 304).
63.   Id. (quoting Conley, 779 F.2d at 973).
64.   Id. (quoting Willoughby, 860 F.2d at 24). 
65.   Id. 
66.   Id. 
67.   Id. (quoting Cervantes, 589 F.2d at 427).
68.   119 S.W.3d at 776.
69.   Id. (citing Cooper, 800 F.2d at 414; Cervantes, 589 F.2d at 424).
70.   Id. at 770-71, 776.
71.   Id. at 771.
72.   Id. at 776.
73.   Id.
74.   Id.
75.   496 U.S. 292, 299 (1990); see also Bradley v. Ohio, 497 U.S. 1011, 1012
(1990) (Brennan, J., dissenting from refusal to grant certiorari) (citing Perkins and stating,
"This Court recently left open the question whether 'the bare fact of custody would in every
instance require a warning even when the suspect is aware that he is speaking to an
official.'").
76.   Menzer, 29 F.3d at 1231.
77.   Miranda, 384 U.S. at 445.
78.   Id. at 467.
79.   See Magid, Questioning the Question-Proof Inmate: Defining Miranda
Custody for Incarcerated Suspects (1997) 58 Ohio St. L.J. 883, 933 ("custody in
layperson's terms is not necessarily custody for Miranda purposes.  Miranda's definition
of custody reflects a concern more with the coercive forces that may affect interactions
between a suspect and an interrogating official, and less with the fact that a person's ability
to select his activities and routine is greatly limited as an inmate.").
80.   See Mathiason, 429 U.S. at 495; California v. Beheler, 463 U.S. 1121, 1125-26
(1983) (per curiam); see e.g., Menzer, 29 F.3d at 1232-33; People v. Macklem (2007) 149
Cal. App. 4th 674, 695-96, Cal. Rptr. 3d, 237, 253; Lindsey v. United States, 911 A.2d
824. 832-33 (D.C. 2006); State v. Pehowic, 780 A.2d 1289, 1291-92 (N.H. 2001);
Commonwealth v. Larkin, 429 708 N.E.2d 674, 681-82 (Mass. 1999); State v. Ford, 738
A.2d 937, 943 (N.H. 1999).
81.   Sanchez-Llamas v. Oregon, 126 S. Ct. 2669, 2681 (2006) (citing Watkins v.
Sowders, 449 U.S. 341, 347 (1981) ("We require exclusion of coerced confessions both
because we disapprove of such coercion and because such confessions tend to be
unreliable.").
82.   Dowthitt, 931 S.W.2d at 255; Stansbury, 511 U.S. at 322-23
83.   Dowthitt, 931 S.W.2d at 254; Stansbury, 511 U.S. at 322, 325.
84.   Thompson, 516 U.S. at 112.
85.   Wilkerson,173 S.W.3d at 532. 

